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   ED Pa AO Pro Se 14 ( Rev 04/18) Complamt for V1olat10n of Civil Rights



                                                UNITED STATES DISTRICT COURT                    \   '\   -   •   \       '   ..           •    < \   ~




                                                                              for the

                                                            Eastern District of Pennsylvania




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   If the names of all the plaintiffs cannot fi.t in the space above,                 )
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   please write "see attached" in the space and attach an adduwnal                    )
   page with the full list of names)                                                  )
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 ~f: fl· A-1Tk II P/:1-Gf.Defendant(s/i.,p,.t;.,P.        I A)                        )
   {Write the full name of each defendant        -:V'f~
                                                1s being sued If the                  )
   names of all the defendants cannot fit in the space above, please                  )
   ante "see attached" in the space and attach an ddd1t1onal page
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   wuh the full llSt of names. Do not include addresses here.)



                                          COMPLAIN'I: FOR VIOLAJ'ION OF CIVIL RIGHTS
                                                 '         ,     \ \
                                                        (Prisoner Complaint)

                                                                         NOTICE
     Federal Rules of Cn,d Procedure 5 2 addresses the pnvacy and secunty concerns resultmg from pubhc access to electromc court f'iles Under this rule.
     papers filed with the court should not contam an md1v1dual's full social secunty number or full birth date, the full name of a person known to be a
     mmor, or a complete financial account number A filmg may mclude only the last four d1g1ts of a social secunty number, the year of an md1v1dual's
     birth, a mmor's m1tials, and the last four d1g1ts of a financial account number     \
                                                                                  '
     Except as noted m this form, plamtlffneed not send exh1b1ts, affidavit,. gnevance or witness statements. or any other matenals to the Clerk's Office with
     thrn complamt

     The Clerk will not file a civil complamt unless the person seekmg rehefpay~ the entire filing ·fee (currently $350) and an admm1strat1ve fee (currently
     $50) m advance, or the person apphes for and 1s granted m forma paupens status pursuant to 28 C S C § 1915 A pnsoner who seeks to proceed m
     forma paupens must submit to the Clerk (I) a completed affidavit of poverty and (2) a copy of the trust fund account statement for the pnsoner for the
     six month penod nnmed1ately precedmg the filing of the complamt, obtamed from and certified as correct by the appropnate official of each pnson at
     which the pnsoner 1s or was confined for t!Ie precedmg six months See 28 l.: S C § 1915(a)(2)

     If the Judge enters an order grantmg a pnsoner's application to proceed m forma paupens, then the order 'will assess t!Ie filmg fee (currently $350)
     agamst the pnsoner arid collect the fee by dITectmg t!Ie agency havmg custody oft!Ie pnsoner to deduct an m1t1al partial filmg fee equal to 20% oft!Ie
     greater of the average monthly deposits to the pnson account or the average monthly balan<;e m the pnson account for the SIX-month penod 1mmed1ately
     precedmg the fihng of the complamt, as well as monthly mstallment payments equal to 20% of the preceding month's mcome credited to the account for
     each month that the balance of the account exceeds $10 00, until the entire fihng fee has been paid See 28 t; SC § 1915{b) A prisoner who is
     granted leave to procted in forma panperis is obligated to pay the entire filing fee regardles~ of the outcome of the proceeding, and is not
     entitled to the return of any payments made toward the fee.




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ED Pa AO Pro Se 14 ( Rev 04/18) Complamt for V10lat1on ofC1v1l Rights


I.        The Parties to This Complaint

          A.        The Plaintiff(s)

                    Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                    needed.
                         Name                                           (Y) iJ.;:h.Q,.~ (    '"' (Yl~k~~'         )J-o I\}~~
                          All other
                                 •
                                    names DY.I which                       ~~h~1
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                                                                    ~e~ f"rJ-
                                                                                 City
                                                                                                           a:'~              _fiJJJZip Code
                                                                                                             State       '


          B.        The Defendant(s)

                    Provide the information below for each defendant named in the complaint, whether the defendant is an
                    individual, a government agency, an organization, or a corporation. Make sure that the defendant(s)
                    listed below are identical to those contained in the above caption. For an individual defendant, include
                    the person's job or title (if known) and check whether you are bringing this complaint against them in their
                    mdividual capacity or official capacity, or both. Attach additional pages if needed.
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                    Defendant ~o. 1
                          Name                                               p('~   r".11.    (...~   (Z_,i (\'l(..d."C v        l
                          Job or Title (if known)                          _01~ dtc.c-(               A,f-1,r-~ kl, ~ -&~k.5" ~ f j ;
                          Shield Number
                          Employer
                          Address                                        ;JC, ljb_ ~-<:.»Sr L~e-_~
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                                                             \      ~dividual capacity                ~ c i a l capacity


                    Defendant No. 2
                          Name
                          Job or Title (if known)
                          Shield Number
                          Employer
                          Address                                          J'l tl        C,~              l,J-e~ f.: !- ·-
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                    Defendant No. 3· ·          \
                                                •
                          Name
                          Job or Title (1/ known)
                          Shield :Sumber
                          Employer
                          Address




                    Defendant No. 4
                          :Same
                          Job or Title (if k11ow11)
                          Shield Number
                          Employer
                          Address                                       . "f't~(_        -Q/Jli.- fV'k clJt,~~ {)__h ~ W~Jfhti
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                                                                                                  State        Zip Code

                                                                   8fndividual capacity      [:j"nfficial capacity

II.       Basis for Jurisdiction

          Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
          immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unknown Named Agents of
                              0


          Federal Bureau 0[ Narcotics. 403 U.S. 388 ( 1971), you may sue federal officials for the· violation of certain
          constitutional rights.

          A.        Are you bringing suit against (check all ihat apply):

                    D Federal officials (a Bivens claim)
                    5(i   State or local officials (a§ 1983 claim)

          B.        Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                    the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
                    federal constitutional or s1tatutory right(s) do you claim is/are being violated by state or local officials?
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          C.        Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
                    are suing under''Bivens, what constitutional right(s) do you claim is/are being violated by federal
                    officials?


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              D.        Section 1983 allows defendants to be found liable only when they have acted "under color of any
                        statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
                        42 U.S.C § 1983. If you are suing under sect\on 1983, explain ho\" each defendant acted under color
                        of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
                        federal law. Attach additional pfiges 1fneeded. CJe.c.. f ~ .
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    III.      Prisoner' Status
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                                        '   .
                                                       .'     .
              Indicate whether you are a prisoner or other confined person as follows (check all that apply):
              ~                                                                                                   \
              ~          Pretrial detainee
                                                                                                        .
              D          Civilly committed detainee
                                            \   ·\
                                                                                                             \




              D          Immigration detainee
                                                 . 1

              D         Convicted and sentenced state prisoner
                                 \
              D          Convicted and sentenced federal prisoner·
                                                                                                                                        ,.,.
             !Kl         Other (explain)

    IV.      Statement of Claim

             State as briefly as possibl,e the facts of your case. Describe how each defendant was personally involved in the
             alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
             further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
             any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
             statement of each claim in a separate paragraph. Attach additional pages if needed.


             A.         If the events giving rise to you~ claim arose outside an institution, describ'e where and when they arose.



\
                                                                                                    -       -\-


             B.         If the events giving rise to your claim arose in an institution, describe where and when they arose.
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           C.       Whar date and approx.irllate time did the events giving rise to your claim(s) occur?

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           D.
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                    What are the facts underlying your claim(s)? (For example: What happened to you? Who dzd what?
                    Was anyone else involved? Who else saw what happened?)




      .'




V.




VI.        Relief

           State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
           If requesting money damages, include th<;: amounts of any actual-damages and/or punitive damages cl!}imed fo;,.
           the acts alleged. Explain the basis for these claims.        St£ ll ~ ( 1 . Cl)~c.. l\ ~ f, O~ 'll r\1 c:1- ,-~It                                              SQ.._
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                                                                      .,
VII.     Exhaustion of Administrative Remedies Administrative Procedures

         The Pnson Litigation Refohn Act ("PLRA"), 42 C'.S.C. § 1997e(a), requires that "[n]o action shall be brought
         with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
         in any jail, pnson, or other correctional facility until such administrative remedies as are available are
         exhausted."
                                               \      ·, ·\ .
         Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have not
         exhausted your administrative remedies.

         A.         Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

                    ~Yes

                    D No_
                    If yes, name the jail, prison, or other correctional facility where you were confined at the time of the
                    events giving rise to your claim(s).




                                                                                           \
         B.         Does the Jail, prison, or other correctional facility where your claim(s) arose have a grievance
                    procedure?

                    ~Yes

                    0No

                    D      Donotknow


         C.         Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
                    cover some or all of your claims?

                    5?:J   Yes

                    0No

                    D Donotknow
                    If yes, which claim(s)?
                                       1? '/7vl-            M    JC.~                   (b(>,(!.c/b-'\L,\$r         (1'1~}'4,- £                   ~ l?c_g.-,,,,y,J..

                                        tJ- fl,/! r-t ~ k. &o,- <                                r   Af!>,.v-a        N"e'rt
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                                        V   .J.t_J.      JI..<. f-lOu... k               C-4'"   2. dJ,     d..J     J!.      Cc:> ......   t4._

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                      /,.~d Wt)-j C,1110.i-- °'-"' i._.... ~~, ~ ~ ~ " Jo
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 'ftvf,1>4-<1; - CJ-2.?~ }~ -J #-4Fq, .Ju1::, c,vfJ/J,z. Wc.,.'cJ.~, ... -.

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         D.         Did you file a grievance in the jail, prison, or other correct10nal facility where your claim(s) arose
                    concerning the facts relating to this complaint?                ·       ·




                    If no, did you file a grievance about the events described in this complaint at any other jail, pnson, or
                    other correctional facility?

                    D Yes
                    0No

         E.         If you did file a grievance:                                      \


                    l.    \Yhere did you file the grievance?


                                            (3 IL ~IC,J Co~ J, (+1'.So /\.                 r/"


                                              fkrtcs Cc,~~ Uw\8!;_~--
                    2.    What did you claim in your grievance?

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                    3.    What was the result, if any?

                                         T ~~.J.J...y Fil~                                Vtf'.1'«..vr-t.<L.s   ~ 'J
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                                           --~ ~

                    4.
                                            <JZ.~· "iiJ.c..       tt'   /,.. - ~ / J ~ - - - ~ V ~ r ! -
                                                                         Otb-t'l- ~ ~d. rrF h-JJ                  f'l?~f
                         What steps, if any, did you take to appeal that decision? Is the grievance process cothpleled?      If
                                                                                                                                  _


                         not, expl,ain why not. (Describe all efforts to appeal to the highest level of the grievance process.)
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                    G,n.b.l,~            , y~J-       RJ/uJ. Jo             ,'h.Jer~(l.      ~            r"'-o.k.L

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                      (.s~c. ~ 1 ~""'t-u) (A/b) Pt+Gte ~f~)
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      F ...         ,Ify~u did nat.:(ile a grievance= ·
                                                                                                                    .'
              1 .


                    I.    If there are ~ny reaso11s "'hy" yol) did nut file a grievance, state them here:

                                     ::;::?   Wr:ft>               ~~~4.,                              ~p          /J.J&k.iJ                                               '· \

                    ' ' ., :.\ ,. ~ .. ~7~.t 5fl"'~~ zr: ~J                                                       1 ··@.r.t( , ~                                       \
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                           '    •,..,. ~1-· ~ f1i 'P:-.e~ - ~ t t - - , .                                ,.       : .
                    2.    If you did not file a grievance but you did inform officials of your claim, stat~ who you informed,
                          when and how, arid }heir response, if any:                       ~        .               .l

                                     ' ·;r: ~ ~ J . ~~r.~~U-L~wr;~ ~ ·.
                                    • • 1?. ' '?i.~.i.J- ~J- c,-/- O,~CA,'f.. ~ : •• ( J ~ \ (,, e'


      G.
                          · - '- .-~:;'rl•~                                                      %'[;=;f~-.~t~t
                    Please set forth any additional information ttfis{eleva~t to, the exhausi of your adm,inistrative
                    remedies.                                     ·
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                    (Note: You may.attach (J-S exhibits to this cortlf(laint any documents related to the exhaustion ofyour
                    administrative remecpes)                                   ,              - , '           . • ', I


VIII. Previous Lawsuits

                                              a
      The "three strikes rule" bars prisoner f~om bringing a civil action or an appeal federal court ~1thout paying            tn
      the filing fee if that prisoner has "on three or more prior occasions;, while inGarceniied or qetained ip, any faciltty,
      brought an action or appeal in a co~rt of the United. States th!lt was dismissed on the grounds tliat it is frivolous,
      malicious, or fails to state a claim upon which relief may be granted, unless die prisone:c is under imminent
      danger of serious physical injury." 48 li.S.C. § 1915(g).                                    ·             •
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                                         )'),r" Vf\.FO,<r fr,,._,-})'\U\j.. d.-.~,v ~ ~'cwi P~l44 ,f"'1 )"r'7
      To the best of your knowledge, have you had a case dismissed based op this "three s~ke7 rule"?
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                                                            p~,-..1cl           ALf-r<"! .. l          U),t(.{}X~                        'le
      0       Yes        ft' t. J, ct._f.,;_ ~ -~i" ~ ( q _J.3-:' ['1) /JN J                                               µ..~'1-..r                   ~ .4-c 4".n.,<>•"'j
      ~ No                f '>..,«, hc,L G>v 1t ' ~ ~. t'Z-,f. ~ W                                                         )}yr b...i.              ~ ..J.c>
                  f\,-,,1 l J,..t!ilrl- ~ e,~J...A........ ~-J.., :~~"'-'r
                ( S<-tt P~<ll~ 2 ~Cl..) ,.
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      If yes, state which, c~urt ct1smissed your case, when this pccurred, and attach a, cop:y of die prder if possible. . ., . _

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                                                                                                                                       \


         A.         Have you filed other lawsuits in state or federal court dealing with tlie same facts involved in this
                    ~tioo?                                                                          .

                    D      Yes

                    filNo                                                                                     . ·,
         B.         If your answer to A is yes, describe each lawsuit by answering questions. I through 7 below. (If there is
                    more than one lawsuit, describe the additional lawsuits on ano'ther page, using the same format)

                                                                                                                                  \,
                    l.     Parties to the previous lawsuil                                                                    '    \


                           Plaii:iti ff( s)
                         ·. ·befendant(s)

                    2.     'court (iffederal court, name the district; if state court, name the county and State)


                                                                                                      \
                    3.     Docket or index number

                                                                                                              '   -- \.
                    4.     Name of Judge assigned to your case


                                              .   )

                    5.     Approximate date of pling lawsutt
                                                                                                                                   \
                                                                                                 'i       -


                    6.     Is the case still pendmg?                                                                      \


                          D.Yes                                                     '   '

                          0!-.Jo

              '•"
                           If no, gi\re the approximate date of disposition.

                    7.     What was the result of the case? (For example. Was. the cdse dismzssefi?: Wqs judgment entered
                           in your favor? Was the case appealed?)




         C.         Have you filed other lawsuits in state or federal court otherwise relating to the conditions of your
                    imprisonment?



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       '            D      Yes

                    ~ :\o

           D.        If your answer to C is y.es, describe each lawsuit by answering quest10ns l through 7 below. (!/there is
                     more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

                     I.    Parties to the previous lawsuit
                          Plaintiff(s)
                           Defendant( s)

                     2.   Court (iffederal court, name the district; if state court, name the county and State)




                     3.    Docket or index number



                     4.    Name of Judge assigned to your case



                     5.    Approximate date of filmg lawsmt



                     6.    Is the case still pending?

                          Oves
                          0No

                           If no, give the approximate date of disposition


                     7.    What was the result of the case? (For example: Was the case dismissed? Was judgment entered
                           in your favor? Was the case appealed?)




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IX.      Certification and Closing

         Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
         and belief that this complaint: ( 1) is not being presented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost of htigation; (2) is supported by existing law or by a
         nonfrivolous argument fo~ extending, modifying, or reversi~g existing law; (3) the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
         requirements of Rule 11.



         A.         For Parties Without an Attorney

                    I agree to provide the Clerk's Office with any changes to my address where case related papers may be
                    served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                    in the dismissal of my case.

                    Date of signing:


                     Signature of Plaintiff
                     Printed Name of Plaintiff
                    Prison Identification #
                    Prison Address




         B.         For Attorneys

                     Date of signing:


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number
                     Name of Law Firm
                    Address


                                                                          City             State          Zzp Code

                    Telephone Number
                    E-mail Address




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PAGE 1 ft:: Case 5:19-cv-04564-CMR Document 1 Filed 10/02/19 Page 23 of 31
MICHAEL J. HOLtIDAY                           IN THE UNITED STATESDDISTRICT COUR'fl
                                              EASTERN DISTRICT PENNSYUV.ANIA
PLAINTIFF                                      CIVIL DIVISION:~
 vs~
1. Kenneth Wloczewski DR.                      DOCKET I:
2~ Gabriel Pelaez P.A
                                                                     JURY TRIAL DEMANDED
B. Jesse Kirsh P.A. · / fv'Vv"J-t.. /4..,,,..rtA_.
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(THEIR INDIVIDUAL ANDtOR OFFICIAL
  CAPACITIES)
6~ Deputy Warden Smith / o me.er G:,µ/1,..t+f)
7. Prime Care Medical /                J
                           (1f. A_e,ky,r        ,
8. Berks county Jail Sy~temn, / of!+.~ k-1-~Jk,,

                                           1983 CIVIL ACTION COMPLAINT
 Jurisdictional Statement:
 Under 42 u.s.c.· '1983, you may sue s.tate or Local ' Officials for·.
 the deprivation of any rights , privilidges, or immunities, secured
·by. the Constitotion 1 and [Federal Laws]  ·
I. Parties
  Plaintiff: Michael J. Holliday
  Defendants: Prime Care Medical
              Berks county Jail System
              Dr. Kenneth Wloczewski / pvrJ.e LL Ol"\e.)..
              Gabriel Pelaez P.A.      / lJ(t,·~ar ~/-,,...,o.Sk·'
              Jesse Kirsh P.A.
             ~a EC     r :cl 1 11   \J (t....,,_(f. ft-[,.,, " ""'87t-
                                                              1
                   Off 1               @&a               Off,'l.A.< f'~Sj .v,.r-~
                   Deputy Warden Smith
                             o(l:~"'   l<i/\ "4-0   /   S(,f. Ac.k-tr!"
    Violation Of Rights:
  A)    Right to Medical Care
  B)    Right to have access to grievance procedure
  C)    Right to be free of corporal punishment
  D)    Be treated impartially and justly
  E)    Free Sexual Abuse or Harrassment
II. Exhaustion of Grievance System:
       I have copies of several grievances and appeals to the grievances.
       I was even assaulted and threatened for using the grievance system.
       There are a few grievances I never got a response ori.
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 I I. FACTS
 1) ALL Parties acted under color of law at all times relevant to the complaint.
 2) ALL Parties acted outside their scope of duty.
 3) ALL Parties acted in concert.·
 FACTUAL ALLEGATIONS:
 A) On June 21st, 2019, I was incarcerated at Berks county Jail System in
 Leesport, PA in the County of Berks. Sometime that evening I talked to
 a Nurse who worked with the ~edical Department (PRime Care Medical Inc)
 who's job it was to admit new inmates. I explained to this nurse that
 I have to take Metropolol for tachycardia, my ankle is swollen and I
 am having trouble walking around and would require a Bottom Bunk DOJ.
 That I take Methadone at New Directions Treatment in West Reading,PA.
 That I have a bladder condition where at times I a have trouble with
 urinating and require catheters (French 14 size). That I also have
 a metal object lodged in my hand that needs to be ~ddr~ssed. I told this
 nurse that they can verify all this information through my Doctor
 at Arias Clinic at 525 Penn Street Reading Pa. Dr.Arias.
 B) On June 25th, 2019, I was found guilty for"failure to Provide Urine
 Specimen". Because I was unable to urinate, due to my condition with
 my bladder. I was given 15 days in RHU(Disciplinary Unit).
 C) On July 3rd, 2019, because I still have not been provided with
 my catheters for urinating and still not given Metropolol for my
 tachycardia condition, nor the DOJ I required for the Lower Bunk.
 All my sick calls were starting to be ignored, I decided to submit
 a Grievance.
 D) On July 12th, I was brought down to medical to talk with a Gabriel
 "Gabe" Pelaez P.A. I notified Gabe that I was supposed to be taking
 Metropolol. for Tachycardia and required the use of catheters for
 a bladder condition (Urine Retention) at times. I also discussed
 with him how! was having trouble getting in and out of the Bunk
 and would require a lower bunk DOJ. I discussed with him my Need
 for a Giliutten Free Diet at this time, that I get acid reflux
 and throw up if I wat too much wheat products or gluten products.
 E) At this time I was continueeilrsi!y being in.terrupted· by Jesse Kirsch P.A.
 where he kept making statements such as, "Bullshit Holliday" and,
 "Yeah Right" in a high pitched tone. Creating a situation where I
 could no longer discuss my medical concerns and an arguement ensued.
 Dr. Pelaez told.me he needed me to sign a release form to get my
 records from DR.Arias at 525 Penn Street in Reading , pa, and Rite Aid
 on Penn Street in Reading, PA.
 F) I still have not gotten my catheters or Metropolol. I have taken
 Metropolol for several years now. Prescribed by Doctors at Cocalico
 SPorts Family Medicine in Adamstown, PA and Dr.Arias in Reading. For
 Tachycardia. A condition where your heart rate is too fast.
 G) ON August 15th 2019, I noticed my left harld begin to swell and
 my arm turn red and discolored, so I submitted a sick call slip.
 The next day I was stopped in the medline by khe~u~se MAr~aret who
 began to loudly discuss my hand in front of all tue inmate ·
H) ON AUGUST 19th, 2019 I WAS given an XRAY of my hand where they
  D1mfound a foreign metal object lodg~d in my hand as the sorce.
               Case 5:19-cv-04564-CMR Document 1 Filed 10/02/19 Page 25 of 31
     PAGE 2FQ (A summary of the facts as they stand at this time)
     Today is 9-25-2019, I have been incarcerated at Berks County Jail
     since June 21st 2019. This entire time I have consistently complained
     to jail staff aswell as the Medical Department(Prime Care Medical)
     about my Tachycardia Condition, and the need for Metropolol. Since
     the time of my incarceration I have been denied Metropolol and ha~e
     continued to be denied this medicatmmn . I have writ-ten mult:plrel
  sick calls
     several greivances, to no avial and I have been mocked, threatened,
  assaulted, and intimidated and told to keep my mouth shut. For the
  past 3 mQnths I h~ue experienced extreme rapid heart beat, chest pain,
  high and low blood pressure. I can tell I am not well and myu health is
  in decline. I am concerned about suffering a heart attack or a strokie .
    <X·- as a result of being denied this medication not to meRion the
 damage that continues to be caused as long as I am being denied this
 medicine while I am in this jail under the Medical Supervision of
 Prime Care Medical and Berks
                           ,,..,, ... ,.
                               ~   ~
                                         County Jail System.
 On September 15th, 2019, I got up to get a glass of water sometime late
 after lights out and I got really light headed and dizzy, and noticed
 a buzzing type sound, along with a cold feeling in my head.
  A passed out and woke up later on at breakfast time to the door lock
 popping open. I notified jail staff along with the medical department
 they have yet to have followed up to my complaint.
 On September 23rd, 2019 , I was given a lethal dose of methadone, which is
 an act of gross negligence on the part of the medical team, seeing as how
 I only take a 16 milligram dose of methadone and the dose I was given was
 100 mgs, an amount that could have potentially killed me.

  I was placed upstairs in Medicals "O unit" , usually reserved for
 suicide watch inmates, but I was placed there and suffered what I
 believe to have been a seizure. I got really light headed, and lost
 control as the whole room began to shake, I fell out and woke up hours
 later o what felt like hours later as I was unaware of the time. This
 was witnessed by a C/0 Katow'f,ki, who told me , "You are a liar. and a dick!"
  After this incident I noticed much of the same symptoms as I had days
 prior began to return or appear worse. My arm is even weaker than it
 was the last time I experience something similiar. My speech has gotten
 much worse, it is even more difficult to form sentences and thinking
 is a task in itself. Performing the most mundane or basic tasks is
 a struggle.
  I believe that the combination of being denied my tachycardia medication
 (metropolol) along with _being   given this dangerously high dose of
 methadone (100 mgs when I only take 16 mgs) has caused me to suffer some
 kind of seizure or stroke that has in turn caused me some kind of Brain
 damage.
  I am requesting the courts emergency intervention, as my symptoms are
 only getting much more severe. I am in dire need of being placed back on
 Metropolol for tachycardia, and being given an MRI or Catscan to find out
 what damage, or damage is being done to my br&in, as a result of
 the lack. of-.medical treatment I have received here at the jail.
  I also need an XRAY on my right 'foot, because I have been having difficulty
, walking after DR. Pelaez stepped ,
 ~                                  on my foot.
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I)    I noticed on August 20th my whole arm become red and my hand
swe 11 up, and I no,ti f ied CID Mendenhall' afrd requested to go 'to
medical. He refuseM to'even call the Medical Department, let a~one l
call them to make them awa;re of my situation. Thts ~apperrefilr at night·
Rec •                                         .         <          ..    -        .....   •   •   ~

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                      \      .           '                                    . . \ \ . \.1   .
J)_.on August 21st I was called down ~o ,medicalf 8-\2'1.:.20J.,9, aC about
8:15-9:00. I was .c::all~d. down 'BO: speaR:·w:i.tR'a:' 'or. Kenneth Wl0fZe~ski.
He told me to stop putting in sick calls and ~s..ie..v~en..o.es,., Asked me
if I was really a gay mus 1 im. 'fhe~-\to 1·d m~ \that~ h~ ·didn't thi.nk \ 'J
mus 1 ims. -1 iked gay-:·p~ople.,;~\and 's'aid some thing along thl=! lines- of '
"I wander how J;:he other mus 1 ims wi 11 fee 1 ·about· ythir' pr·evious
homose~ua 1 1 if es ty \e? . '', .T;I-Ien. \hb L~ .me ."hn\J.es s I wanted t~\em. to~ ·find chit
about 1t that r· s~opped putting 1n sick calls and grev1ences about
tpe Metropolol and whatev~r e.J,,se, \it. vras' 1\ ha\:i been complaiping aboufl.•
He then threat~mec;k,,,t:o ,,. "~ut your faggot ass in there wbth Peaches, and
let him have a go with ya. II .(THis -guy>p·eaehe·s' is a well known big .
gay guy that wa,s. in .:the 1 -j~i'l 'arta· beat up his celly and,raped him) The
jail has been kndwn for placing inmates tn cells with people:that.they
know they will have proplems ~1th as'A form of punishment or,retali~tion
, so I did not ,p.er.ceive this to be aq .iq)E: ·thrteaf1~ '.\                  "' '                 ,
                                                             -·                                                 ,'
 After making, \this tlir.~a t\ Dr. Wlo'czewsl,d lec:ld me . into· an area with
curtains (Examining area with\ a ..bed A •and called' over Gabriel "Gabe."
Pelaez and told him "TH}s ''guy HOlliday has been giving us ,trouble. ·
Show him what we do to fags that give .th.Et medica'1 :1:e?am· trouble". He·
then procee_ded t? draw \he ~t.p:;t:ains ~s ·Gabe Pelaez s?ck:f.,fUf!.ched'me in
my face.   I was 1n shock,.                  .   \ ~~-   i :,1 . \
                                                  \ ..... ,f'...        . \   ~                       ......   . \
 After this Dr. Wl:oe;.z'Ei!w:Ski s'ent me.·back to the block .and 'said "v'ou
better':.not be giving medical n9_ mor~ pr<;>blems:".    After telling ' me·:
that if I mention. tl}e; rinc.eden•f it will only cause me troub.le, as· I
will not be beli'evea. I have· report~p _thi-,s, to a few C/O''s that; I
trust not to retaliate o~ cause me trouble • I discussed this· • ·
on 2 occasion1? witfr C/0 SHollenberger. I put in a gr~\{ience and wrote
the warden and I am wai~ing the ~~,1!?~nsT .,~\ \         ·             .. , ·.
K) After this - i'ncideiJ ~ l.\aJ ve~r·y to put in\ aily· fur.the'r grievance,
                                  1


and decided to do so anyways on ~-Z3·;:-2019. r still have\not receiv'ed
a response .           , : · \ \ ·                    , ·~ ,
                                                      . --              --
L) on August 24th, 2019.I told Officer Reyes my ankle was.swelling
up after walking around the yard. He sent me along to medical. I
showed the nurse down there, this was about 5-6 PM on my way out~
of medical an officer called me to stop and had me sent to~the
Disciplinary Unit. I was placed in a shower. I was told to strip down
I got out of the shower to inspect my property,. I asked where my
Quran was at. THen the Staff's whole demeanor changed up on me
C/0 Conrad said, "A White Muslim? What The FUck?" They had me walk
to my cell and on the way I heard C/0 Conrad say , "This guy is a
white.Muslim, make sure he don't get a mattress". In the DHU they
will take your mattress, but only if you are a trouble maker. These
guys took my mattress for being a white muslim. I also believe officer
conrad may have taken my or some of my greviences.
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                    My. Welt ~'J.
,.             Case 5:19-cv-04564-CMR Document 1 Filed 10/02/19 Page 28 of 31


     PAGE 4F
     M) On August 31st, 2019, At dinner meds I complained to Nurse Kyle
     about my swollen ankle that I have been complaining about for
     weeks now and have still not seen the doctor for. I attempted to
     explain to him how this maybe a result of me not getting my:
     Tachycardia Pill (Metropolol) like I should have been getting. I
     tried to explain to him how the last time I stopped taking this pill
     I wound up in the hospital. He said, "That's a bunch of bullshit".
     "I know who you are and I don't care", and then he slammed the slot
     shut in my face. I also put in a grevience about my ankle on AUgust
     29th 2019.
     N) ABout September 3rd or 4th they forced me to share a cell with
     another inmate who also had a bottom. bunk DOJ. We had to fight over
     who got the bottom bunk and we were made to share a cell for at
     least 2 days.
     O) On September 4th 2019, I was called down to medical from the
     Disciplinary Unit (RHU) around 10-11:00 AM I was asked to st~p
     behind the curtain by DR. Gabriel Pelaez, ~What did Dr. Wloczewski
     tell you?", Gabriel Pelaez said, "Which foot is it?" I pointed to
     my right foot at which.point DR. Pelaez proceeded to stomp really
     hard on my right foot, then told me," There you want the bottom bunk
     there's your bottom bunk DOJ". At this time I told Dr. Pelaez that
     I am not gonna put up with this you really hurt my foot, I am going
     to the LT. Castro. THen "Gabe" Pelaez called DR. Wloczewski into
     the curtained area and DR.Wloczewski said, "Holliday, what did I
     tell you? You going to tell? GO For it. Who do you think will be
     believed? It will be medical staff's word versus yours, Now get
     the fuck out of here and if you breath a word about this to anyone
     we can make your life a living hell!"
     P) On September 4th, 2019, while I was in RHU,there are these
     really~ loose metal pipes that are in the corner of the cell
     I was unable to sleep all nite long as the inmate below me kept
     shaking the metal pipe. In fact, on a previous visit to the RHU
     I was in a cell on the lower tier and there was another m~tal pole
     in this cell also, where the inmate in the cell above me would
     shake the pole ·and make· it "Rain" urine- down· through-the crack - - -
     around the pole. This urine was leaking down all over me as I
     slept. I told C/0 Conrad and he told me, "Shut up ;Hollid?y,,
     quit your bitching, this is all just apart of being in Delta(RHU)".
     So , apparently having Urine made to "Rain" on you as you sleep i
     ~11 just a part of the experience, according to this guard •
     T)   Today is September 19th 2019, I still have not been seen for
      the incident on September 15th, I~put in a sick call days ago.
      I brought this up to the night med nurse on med pass and she said
      "Now is not the time or the place to discuss this". I have not been
      feeling well for the past few days. My teftr-.:.a~mrc. is weak feeling
      and I have been having trouble forming proper sentences and even
      have been sluring my words. I fear as a result of not being given
      my Xetropolol medication that I have taken for Tachycardia for years
      that I may have suffered a b~adn:I~guey.I am requesting the courts
      immediate interventio~ to get put back on Metropolol and be given
     an MRI or CATSCAN to find out if I have indeed suffered a stroke.
       ~eptember 15th 2019, Passed out afte b          .     .
        didnt wake up until breakfast t·    r ecoming dizzy after 1 · h
                                       ime hours la                      ig ts out
                                                      ter, havent felt
            Case 5:19-cv-04564-CMR Document 1 Filed 10/02/19 Page 29 of 31
 PAGE 4F Q (4FQ)
 Q) On September 12th, 2019. I went down to get my Breakfast Tray
  on "I Block" I am on a Gluten Free Diet for a !Vledical Condition.
  C/0 Almquist was working the~block. There was Cream of Wheat on my
  tray which I believed to contain Gluten. I pointed this out to
  C/0 Almquist and he said , "Holliday, what the fuck do you want?"
  He called the Kitchen and asked ,"Does Holliday get a Gluten Free
  Diet?", then he hung up the phone and told me to do what I ,got to
  do, "I dont give a fuck." The ·c/Q should have told the kitchen there
  was Cream of Wheat on a Gluten Free Tray, but instead I was lead to
  believe it was ok for my diet, when in fact it was not. I wound up
  getting very ill that day and into the next morning, because I thought
  maybe it is Gluten Free after all and wound up eating some of it.
 The kitchen staff should know what is supposed to be on my diet tray,
 and make sure to give me the proper meal and the C/0 on my block
 shouldn't show such indifference and disregard for my medical needs.
 I do have a grievance I wrote up for this incident , but I am very
 hesitant to turn it in, due to my prior experiences and my knowledge
 that Berks COUnty Jail-is known for using inmate food trays as a
 form of punishment or leverage and the fact I have a medically necessary
 diet with my name on it, I am afraid to file it at the moment. I
 fear retaliation, like before.
R) On, September 23rd 2019, at around 8:00-9:00 AM I was called down
to medical and I signed for my methadone dose. Nurse Leona was the
nurse dispensing the Doses on this day. It seemed like my dose was
alot stronger than usual. When I got back to I-Block my celly Inmate
Lineweaver told me that the nurse made a mistake and gave me his dose
instead of mine. I asked him how much his dose was and he told me
it was 100 Mgs. I only take 16 mgs right now, so this is a lethal
dose for me to take. I began to notice that I felt lethargic and
very tired. I startea to fall out of the chair· I was sitting in and
I did not feel normal. I was nodding out. The Medical department
placed me in an observation cell\with a camera. I told C/0 Katwoski
that I wasn't feeling good. Then I felt a pain in my head and a
ice cold feeling and I got very dizzy and everything began to shake
. I woke up on the ground in my cell 0-220, and wiped foam off my
face. C/0 Katwoski witnessed this happening to me, and when I told
him what was going on he said , "You're a liar and a dickhead".
I told several C/O's and Nurses abou~ this. I told Jesse Kirsch,
nurse .magg ie, C/0 Hof fITian_. My symp_torns ipc 1 ude; my arm i.§ f ~eJ ing
weak, my coordination and balance is off, my words are slurring,
and I am having trouble forming sentences. I believe that I may
have suffered some brain damage as a result of this incident, and
I strongly feel that the jail should pay for me to have an MRI or
Catscan to find out if there is something going on in there, maybe
a stroke or something, as a result of todays incident.
 S) Prime Care Medical, is completely aware that I have Tachycardia,
 they have denied me my medication (Metropolol) from the very
 beginning of my incarceration. Now they have given me another inmates
 methadone dose, 100 mgs which can be a fatal dose, when my regular
 dose is only 16 mgs. It is not unusual for a person who accidently
 takes such a high dose to suffer seizures and the.medical department
 has ignored my symptoms. Do to their gross negligence, I have suffered
 irrepairable damage. I feel like my level of inteligence has decreased
 Recently I was on the presidents list at RACC and had a 3.9 GPA
 at this time I very much doubt I would be able t9 continue this GPA
.~fter the damage that was done as a result of being given way too
m\.\fh methadone.
                     Case 5:19-cv-04564-CMR Document 1 Filed 10/02/19 Page 30 of 31
          PAGE SQ (Relief and Damages in Summary)

      1. Since my incarceration I have been continueously denied Metropolol
      a medication that I have taken for several years, prescribed by
      Dr.Arias and Dr.Giedell before him.
      2.,1 have put in several grievences requesting to be put on this
      medication that I was getting for treatment of Tachycardia.
      3. I was threatened and assaulted and warned to not put in any
      further grievances or sick calls.
      4. I have suffered anxiety and chest pain daily as a result, and
      I have even gotten dizzy and fainted waking up hours later, and
      told the medical team , and was met with silence as my complaint
      went ignored.
      5. Dr.Pelaez has punched me, and even stomped on my right foot,
      which is still in pain to this day.
      6. All this has culminated in what I believe to have possibly been
      a mild or moderate stroke on September 23rd 2019~ the day that                                ~.   '-="----,   ... _   ~

      Nurse Leona accidently gave me a 100 mg dose of methadone-, when
      I only am supposed to get a 16 mg dose at this time. New Directions
      Clinic , along with Jesse. kirsch are aware that this happened as
      New Directions was called to ask for advice after the incident.
                                                      K.a.f-v,JJ k,'
           I was placed in cell 0-220 where C/0 1-,atkowski witness me having
          convulsions or rseizing out" and left me to lay there for an undetermined
          amount of time, after which he came to my eell and said" Are you
          threw now you dickhead .•• i believe you are a liar" ..
          7. As a result of this incident my left arm has become weaker, my
          speech has become slurred, and I feel I am having a hard time
          forming sentences and trouble~perfo~ming basic tasks that I once
          could do with ease. I feel a bit offbalance in my coordination, my
          gait.
      8. I am asking to be given an MRI or GatScan, to be placed back
      on my Tachycardia medication and given an EKG. I need the courts
      immediate intervention as J feel that my health has been in a steady
      decline, since I have been in this Jail and denied my Tachycardia
      Medication Metropolol.

                 -   - - --i or
          9. I am requesting    Oamage~r
                             - -- -
                                            in the. A£ILO.ll!Lt q_f _500 .,D_Q.D_ DQ l lars__._ ____ _
      Dr.Wloczewski - 100,000
      Gabriel Pelaez - 100,000
      Jesse Kirsch - 100,000
      D.W. Smith - 75,000
      SGT. Ackers- 25,000
      Officer Conrad - 25,000
      Officer Almquist- 25,000
      Officer Katwoski - 25,000
      Officer Tassone - 25,000
      Nurse Leona
 Damages Are related to Pain and Suffering, FUture Lost Wages, Medical Bills,
and whatever else the court deems necessary •




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